                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                             )
                                                       )
                        Plaintiff,                     )
                                                       )    No. 3:08-CR-66
 V.                                                    )    (PHILLIPS/SHIRLEY)
                                                       )
 ELIZABETH GOODSEN,                                    )
                                                       )
                        Defendant.                     )


                                 MEMORANDUM AND ORDER

        The defendant appeared before the Court on September 3, 2008, for an initial appearance on

 a Petition for Action on Conditions of Pretrial Release. Assistant United States Attorney Tracee

 Plowell appeared on behalf of the government, and attorney Ruth Thompson Ellis appeared on

 behalf of the defendant.

        On May 14, 2008, the defendant was released on personal recognizance with Order Setting

 Conditions of Release. [Doc. 15] Conditions of the defendant’s release included: that she not

 commit another federal, state, or local crime while on bond in federal court; that she report to the

 United States Probation Office as directed; that she maintain or actively seek employment; that she

 restrict her travel to the Eastern and Middle Districts of Tennessee; that she undergo medical and/or

 psychiatric treatment as determined by the United States Probation Office; that she refrain from

 possessing a firearm, refrain from the use of any narcotic drugs or controlled substances, submit to

 drug testing, and participate in a program of inpatient or outpatient substance abuse therapy and

 counseling as directed by the United States Probation Office; and that the defendant remain in the

 Transitions Housing facility until the completion of the facility’s ninety day program. [Doc. 15]




Case 3:08-cr-00066-TWP-CCS            Document 35          Filed 09/04/08    Page 1 of 3      PageID
                                            #: 71
        On July 30, 2008, this matter came before the Court for a status conference as to the scope

 of the defendant’s compliance with the Order Setting Conditions of Release. During the July

 hearing, the Court was advised that the defendant had violated her conditions of release. The Court

 entered a new Order Setting Conditions of Release, which included the previous conditions, but

 which also required the defendant to reside at Midway Sanction Center (“Midway”) and that she

 also abide by Midway’s rules and restrictions. [Doc. 29] During the July hearing, the Court also

 advised the defendant that further noncompliance with the Court’s Order Setting Conditions of

 Release would result in revocation of the defendant’s bond and her detention pending trial.

        On September 2, 2008, a petition for action on conditions of pretrial release was filed by the

 defendant’s probation officer, stating: that the defendant admitted that she had lied to the Court

 when she denied abusing her prescription drugs; that the defendant tested positive for alcohol on

 August 19, 2008, for admittedly abusing cold medication; that the defendant tested positive for

 alcohol on September 1, 2008, for admittedly drinking mouth wash and a beer; that on August 29,

 2008, the defendant missed an appointment with her treating physician at Midway; and that on

 September 2, 2008, Midway advised the probation office that the defendant would be discharged

 from the program. On this basis, the government moved for detention and revocation of the Order

 Setting Conditions of Release.

        On September 3, 2008, the Court conducted a hearing pursuant to 18 U.S.C. § 3148 to

 determine whether the defendant had violated the terms of the Order Setting Conditions of Release

 and, if such violation had occurred, whether sanctions were appropriate. During the hearing, the

 defendant admitted to drinking alcohol and to missing an appointment with her treating physician

 at Midway. Based on these admissions, and on the other evidence before the Court, including the


                                                  2


Case 3:08-cr-00066-TWP-CCS            Document 35        Filed 09/04/08      Page 2 of 3      PageID
                                            #: 72
 fact that the defendant has been expelled from the Midway program, the Court finds by clear and

 convincing evidence that the defendant has violated the terms of the Order Setting Conditions of

 Release. The Court further finds that there is no condition or combination of conditions of release

 that will assure that the defendant will not pose a danger to the safety of any other person or the

 community and that the defendant is unlikely to abide by any condition or combination of conditions

 of release. Accordingly, the Order Setting Conditions of Release [Doc. 29] is hereby REVOKED

 and the defendant is remanded to the custody of the United States Marshal pending her trial on

 February 23, 2009, at 9:00 a.m., before the Honorable Thomas W. Phillips, United States District

 Judge.

          IT IS SO ORDERED.

                                                      ENTER:


                                                        s/ C. Clifford Shirley, Jr.
                                                      United States Magistrate Judge




                                                 3


Case 3:08-cr-00066-TWP-CCS            Document 35       Filed 09/04/08      Page 3 of 3     PageID
                                            #: 73
